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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

PENNSYLVANIA VOTERS                               No. 4:20-CV-1761
ALLIANCE, et al.,
                                                  (Judge Brann)
            Plaintiffs,

      v.

CENTRE COUNTY, et al.,

           Defendants.

                                   ORDER

     AND NOW, this 21st day of October 2020, in accordance with the

accompanying Memorandum Opinion, IT IS HEREBY ORDERED that:

     1.    Plaintiffs’ Amended Complaint, Doc. 38, is DISMISSED without

           prejudice.

     2.    The case is DISMISSED and the Clerk of Court is directed to close

           the case file.

     3.    Plaintiffs’ motions for a temporary restraining order, Docs. 4 and 51,

           are DISMISSED.

                                           BY THE COURT:


                                           s/ Matthew W. Brann
                                           Matthew W. Brann
                                           United States District Judge
